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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                     HAMMOND DIVISION


 UNITED STATES OF AMERICA                       )
                                                )
                         v.                     )         CAUSE NO.: 2:13-CR-111-PPS-JEM
                                                )
 ALMA DELIA CARRERA,                            )
                Defendant.                      )


           FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
           UPON A PLEA OF GUILTY BY DEFENDANT ALMA DELIA CARRERA

 TO:       THE HONORABLE PHILIP P. SIMON,
           UNITED STATES DISTRICT COURT

           Upon Defendant Alma Delia Carrera’s request to enter a plea of guilty pursuant to Rule 11

 of the Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge

 John E. Martin on February 20, 2015, with the consent of Defendant Alma Delia Carrera, counsel

 for Defendant Alma Delia Carrera, and counsel for the United States of America.

           The hearing on Defendant Alma Delia Carrera’s plea of guilty was in full compliance with

 Rule 11, Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the

 record.

           In consideration of that hearing and the statements made by Defendant Alma Delia Carrera

 under oath on the record and in the presence of counsel, the remarks of the Assistant United States

 Attorney and of counsel for Defendant Alma Delia Carrera,

           I FIND as follows:

           (1) that Defendant Alma Delia Carrera understands the nature of the charge against her to

 which the plea is offered;
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        (2) that Defendant Alma Delia Carrera understands her right to trial by jury, to persist in her

 plea of not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse

 witnesses, and her right against compelled self-incrimination;

        (3) that Defendant Alma Delia Carrera understands what the maximum possible sentence is,

 including the effect of the supervised release term, and Defendant Alma Delia Carrera understands

 that the sentencing guidelines apply and that the Court may depart from those guidelines under some

 circumstances;

        (4) that the plea of guilty by Defendant Alma Delia Carrera has been knowingly and

 voluntarily made and is not the result of force or threats or of promises;

        (5) that Defendant Alma Delia Carrera is competent to plead guilty;

        (6) that Defendant Alma Delia Carrera understands that her answers may later be used

 against her in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Alma Delia Carrera’s plea; and further,

        I RECOMMEND that the Court accept Alma Delia Carrera’s plea of guilty to the offense

 charged in Count 2 of the Second Superseding Indictment and that Defendant Alma Delia Carrera

 be adjudged guilty of the offense charged in Count 2 of the Second Superseding Indictment and have

 sentence imposed. A Presentence Report has been ordered. Should this Report and Recommendation

 be accepted and Alma Delia Carrera be adjudged guilty, sentencing before Chief Judge Philip P.

 Simon will be December 17, 2015 at 10:00 a.m. Objections to the Findings and Recommendation

 are waived unless filed and served within fourteen (14) days. See 28 U.S.C. § 636(b)(1).




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       So ORDERED this 20th day of February, 2015.

                                                 s/ John E. Martin
                                                 MAGISTRATE JUDGE JOHN E. MARTIN
                                                 UNITED STATES DISTRICT COURT
 cc:   All counsel of record
       Honorable Philip P. Simon




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